IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

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UNITED STATES OF AMERICA, ) CASENO.:
)
Plaintiff, ) :
JUDGE ZOUHARY
v. )
)
SHAFFER PHARMACY, INC.; THOMAS ) [PROPOSED] TEMPORARY
TADSEN; and WILSON BUNTON, ) RESTRAINING ORDER
)
Defendants. ) FILED TEMPORARILY UNDER SEAL

 

This matter comes before the Court upon Plaintiff's Ex Parte Motion for a Temporary
Restraining Order (“Ex Parte Motion’). Upon consideration of the Ex Parte Motion pursuant to
Federal Rule of Civil Procedure 65(b), 21 U.S.C. §§ 843(f) and 882(a), the Memorandum of Law
in Support, the Declarations in Support, and the Complaint, the Court finds that:

1. The United States has demonstrated that Defendants Shaffer Pharmacy, Inc.,
Thomas Tadsen, and Wilson Bunton (“Defendants”) violated the Controlled Substances Act
(“CSA”), 21 U.S.C. §§ 829, 841(a)(1) and 842(a)(1);

2. The United States has also demonstrated that advance notice to Defendants will

result in immediate and irreparable injury, loss, or damage, namely: (a) harm to patients and the
community from Defendants continued dispensation of controlled substances and (b) the
destruction of evidence related to Defendants CSA violations;

3. Injunctive relief to prevent further CSA violations by Defendants and to protect the
public is authorized by 21 U.S.C. §§ 843(f) and 882(a).

4, Defendants’ CSA violations will continue unless a temporary restraining order is
issued.

5. The conditions for granting a temporary restraining order under Federal Rule of
Civil Procedure 65(b) and 21 U.S.C. §§ 843(f) and 882(a) are therefore met;

Based on the foregoing, it is therefore

ORDERED AND ADJUDGED as follows:

A. The Motion is GRANTED without prior notice to Defendants.

B. Defendants are temporarily restrained from distributing any and all controlled
substances as defined and identified in 21 U.S.C. §§ 802(6) and 812, and 21 C.F.R. §§ 1308.11-
1308.15.

C. All controlled substances in the possession, custody, or control of Shaffer
Pharmacy, Inc. shall be sealed immediately upon service of this Temporary Restraining Order.
This seal shall continue pending further order of this Court.

D. Defendants are temporarily restrained from altering, deleting, destroying,
mutilating, or transferring any record within its possession, custody, or control related to the
dispensation of controlled substances.

Dated: January __, 2021

 

District Court Judge
